Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 1 of 61. PageID #: 384536




          PSJ3
       Exhibit 456A
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 2 of 61. PageID #: 384537
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 3 of 61. PageID #: 384538
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 4 of 61. PageID #: 384539
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 5 of 61. PageID #: 384540
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 6 of 61. PageID #: 384541
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 7 of 61. PageID #: 384542
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 8 of 61. PageID #: 384543
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 9 of 61. PageID #: 384544
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 10 of 61. PageID #: 384545
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 11 of 61. PageID #: 384546
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 12 of 61. PageID #: 384547
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 13 of 61. PageID #: 384548
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 14 of 61. PageID #: 384549
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 15 of 61. PageID #: 384550
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 16 of 61. PageID #: 384551
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 17 of 61. PageID #: 384552
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 18 of 61. PageID #: 384553
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 19 of 61. PageID #: 384554
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 20 of 61. PageID #: 384555
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 21 of 61. PageID #: 384556
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 22 of 61. PageID #: 384557
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 23 of 61. PageID #: 384558
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 24 of 61. PageID #: 384559
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 25 of 61. PageID #: 384560
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 26 of 61. PageID #: 384561
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 27 of 61. PageID #: 384562
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 28 of 61. PageID #: 384563
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 29 of 61. PageID #: 384564
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 30 of 61. PageID #: 384565
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 31 of 61. PageID #: 384566
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 32 of 61. PageID #: 384567
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 33 of 61. PageID #: 384568
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 34 of 61. PageID #: 384569
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 35 of 61. PageID #: 384570
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 36 of 61. PageID #: 384571
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 37 of 61. PageID #: 384572
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 38 of 61. PageID #: 384573
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 39 of 61. PageID #: 384574
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 40 of 61. PageID #: 384575
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 41 of 61. PageID #: 384576
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 42 of 61. PageID #: 384577
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 43 of 61. PageID #: 384578
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 44 of 61. PageID #: 384579
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 45 of 61. PageID #: 384580
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 46 of 61. PageID #: 384581
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 47 of 61. PageID #: 384582
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 48 of 61. PageID #: 384583
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 49 of 61. PageID #: 384584
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 50 of 61. PageID #: 384585
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 51 of 61. PageID #: 384586
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 52 of 61. PageID #: 384587
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 53 of 61. PageID #: 384588
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 54 of 61. PageID #: 384589
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 55 of 61. PageID #: 384590
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 56 of 61. PageID #: 384591
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 57 of 61. PageID #: 384592
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 58 of 61. PageID #: 384593
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 59 of 61. PageID #: 384594
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 60 of 61. PageID #: 384595
Case: 1:17-md-02804-DAP Doc #: 2364-9 Filed: 08/14/19 61 of 61. PageID #: 384596
